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                 Exhibit A
                 State Court
           Summons and Complaint
           Case No. A-21-842555-C
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